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 EXHIBIT 13
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            Rock Box shared a video from the playlist So ci al Distan ce
                                                                           •••
           Singi.
           October 25, 2020 •0

   As you mi,ght've seen, there's som e big ne 111s coming Ul p about ou r
   reopening l But b efore we get into all of that we've got a litt le business
   to take care of. We'd llike to g ive a shout out to every one 1Nho
   pa rticipated in ou r Ot1arantune Karaoke Co ntes ! Your videos were
   beacons o f sunshine on so me pretty gloo 11y days . We th ank yo u fo r
     hat! With t hat b eing said we'd like to announce m r w in ner- Matt
   Rile~,! Matt you r cover o f Lith ium was exp ertly execu ted and embodied
   t he quarant ine exp erience pe rfectlly. Cong ra s on you r free {fut ure}
   Party Ro om ! For hose o f yo u who missec M att's rivoti ng rendit ion o r
   any of the other fab ulou s submissions we received, click on the album
   "Social Distance-Sin,g" below . A nd do n't forget to check back for mo re
   details about th e new Rock Box RE 11 1X lat er t his week · ·




     Rock Box. posted a video to playlist Social Distance Sin g.
     June 25, .2 020 • 0
     Matt's not gonna crack.
     #RockBoxSeattle #Soci a1D is anceS ing #Ka rao keCo ntes
     #Qua rantu ne


   0       11                                           3 Comments 1 Share
